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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Norfolk Division


RONALD W. WALDEN, JR.,                               )
                                                     )
        Plaintiff,                                   )     Civil Action No: 2:20-cv-___________
                                                     )
        v.                                           )
                                                     )
MCDONALD’S CORPORATION,                              )
a Delaware Corporation,                              )
                                                     )
        Defendant.                                   )
                                                     )



                                           COMPLAINT


        Plaintiff, Ronald W. Walden, Jr., by and through his undersigned counsel, hereby files

this Complaint against MCDONALD’S CORPORATION, a Delaware Corporation, seeking

injunctive relief, attorneys’ fees and costs for violations of the Americans with Disabilities Act,

42 U.S.C. §§ 12181, et seq., and damages for violations of the law of the Commonwealth of

Virginia. In support of his allegations, Plaintiff states as follows:

                                JURISDICTION AND PARTIES

        1.      This is an action for declaratory and injunctive relief pursuant to Title III of the

Americans with Disabilities Act, 42 U.S.C. §§ 12181, et seq. (the “ADA.”) The Court is vested

with original jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1343. The Court has supplemental

jurisdiction over the subject matter of all other claims pursuant to 28 U.S.C. § 1367(a).




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        2.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because the

property that is the subject of this action is located in the City of Norfolk, Virginia.

        3.      Plaintiff Ronald W. Walden, Jr. (“Mr. Walden”) is a resident of the

Commonwealth of Virginia.

        4.      Mr. Walden is a qualified individual with a disability as the term is defined by and

within the meaning of the ADA. Mr. Walden is diagnosed with osteogenesis imperfecta and uses

a wheelchair as his primary means of mobility.

        5.      Due to his disability, Plaintiff is substantially impaired in several major life

activities and requires a wheelchair for mobility.

        6.      Upon      information        and     belief,    MCDONALD’S         CORPORATION,

(“MCDONALD’S” or “Defendant,”) is the owner, lessor, and/or operator of the place of public

accommodation including the real property and improvements which is the subject of this action

(the “Property.”)

        7.      The Property is known as McDonald’s; it is generally located at 400 Saint Pauls

Blvd, Norfolk, VA 23510.

        8.      The Defendant is registered to conduct business within the Commonwealth of

Virginia through the Virginia State Corporation Commission and maintains a registered agent in

this jurisdiction for the purpose of accepting service of process.

        9.      Defendant is responsible for complying with all applicable obligations of the

ADA.

        10.     All events giving rise to this lawsuit occurred within the jurisdiction of the

Eastern District of Virginia.

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                                        COUNT I
                            VIOLATION OF TITLE III OF THE ADA

          11.   The allegations set forth in the paragraphs above are incorporated by reference as

if fully set forth in this count.

          12.   The Property is a place of public accommodation and is therefore subject to Title

III of the ADA.

          13.   Mr. Walden visited the Property and plans to return to the Property in the near

future.

          14.   During the visit, Mr. Walden experienced serious difficulty accessing the goods

and utilizing the services on the Property due to the architectural barriers described in this

Complaint and specifically in Paragraph 17.

          15.   Mr. Walden wants to visit the Property but continues to experience serious

difficulty as the result of the barriers described below, all of which exist at the time of this filing.

          16.   Mr. Walden plans to and will visit the Property once the barriers described in

Paragraph 17 and any other barriers have been removed.

          17.   Defendant discriminated and continues to discriminate against Plaintiff in

violation of 42 U.S.C. §§ 12181, et seq., and 28 C.F.R. §§ 36.302, et seq., by excluding and/or

denying Plaintiff the benefits of the goods and services located on the Property by failing to

provide and/or correct the following barriers to access which Plaintiff personally observed,

encountered, and which hindered his access:




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               A. Plaintiff encountered inaccessible parking designated as accessible due to

                    obstructions in the access aisle;

               B. Plaintiff encountered an inaccessible ramp on the designated accessible route

                    due to excessive lip; and

               C. Plaintiff encountered an inaccessible entrance due to lack of a level landing

                    in front of the entrance and the lack of pull side clearance.

       18.     As of the date of this filing, the readily achievable barriers and other violations of

the ADA exist.     They have not been remedied or altered in such a way as to effectuate

compliance with the applicable provisions of the ADA.

       19.     Independent of his intent to return to the Property as a patron, Plaintiff intends to

return to the Property as an ADA tester to determine whether the barriers to access in this

Complaint have been remedied.

       20.     Removal of the barriers to access located on the Property is readily achievable,

reasonably feasible and easily accomplishable without placing an undue burden on the

Defendant.

       21.     Removal of the barriers to access located on the Property will allow Plaintiff to

fully utilize the goods and services located on the Property.

       22.     The Plaintiff was obligated to retain the undersigned counsel for filing and

prosecution of this action. The provisions of 42 U.S.C. § 12205 entitle Plaintiff to seek from

Defendant and receive payment for reasonable attorneys’ fees, costs, and expenses of this action.




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                                          COUNT II
                                      STATE LAW CLAIM

       23.     Plaintiff re-alleges and incorporates into this cause of action each and every

allegation contained in the previous paragraphs of this Complaint.

       24.     Defendant’s Property is a place of public accommodation under Code of Virginia,

§ 51.5-44.

       25.     The architectural barriers and other accessibility barriers constitute an ongoing act

of discrimination against the Plaintiff as a person with a disability in violation of Section 51.5-44

of the Code of Virginia.

       26.     As a direct and proximate result of Defendant’s intentional and negligent failure

to remove barriers to access that exist on Defendant’s property, Plaintiff was and continues to be

denied access and his civil rights were and continue to be violated.

       27.     Consequently, Mr. Walden seeks monetary damages from Defendant pursuant to

Code of Virginia, § 51.5-46 for the discrimination he experienced and continues to experience.

                                     PRAYER FOR RELIEF

       WHEREFORE, Ronald W. Walden, Jr. demands judgment and execution against

Defendant and requests the Court provide the following injunctive and declaratory relief:

       A.      Declare the Property owned and administered by Defendant is in violation of the

               ADA;

       B.      Enter an order directing Defendant to alter its facilities on the Property to make

               them accessible to and useable by individuals with disabilities to the full extent

               required by Title III of the ADA;


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    C.    Enter an order directing Defendant to evaluate and neutralize its policies and

          procedures toward persons with disabilities for such reasonable time so as to

          allow Defendant to undertake and complete corrective procedures;

    D.    Award to the Plaintiff reasonable attorneys’ fees, costs (including expert fees),

          and other expenses of this action;

    E.    Award such other and further relief as it deems necessary, just and proper;

    F.    Issue a Declaratory Judgment that Defendant violated the Virginia Rights of

          Persons with Disabilities Act;

    G.    Order Defendant to alter the Property to make the facilities accessible to and

          usable by individuals with disabilities to the extent required by the Virginia

          Statewide Building Code;

    H.    Award Plaintiff monetary damages from the Defendant pursuant to Code of

          Virginia § 51.5-46; and

    I.    Award Plaintiff such other additional and proper relief as may be just and

          equitable.

                                           RONALD W. WALDEN, JR.

                                           By: /s/ Deborah C. Waters
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